                                        Case 3:25-cv-03698-SI             Document 214     Filed 07/18/25    Page 1 of 11




                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     AMERICAN FEDERATION OF                             Case No. 25-cv-03698-SI
                                         GOVERNMENT EMPLOYEES, AFL-CIO,
                                   8     et al.,
                                                                                            ORDER GRANTING IN PART AND
                                   9                      Plaintiffs,                       DENYING IN PART MOTION FOR
                                                                                            PROTECTIVE ORDER OR
                                  10               v.                                       RECONSIDERATION AND
                                                                                            REQUIRING PRODUCTION OF
                                  11     DONALD J. TRUMP, et al.,                           AGENCY RIF AND
                                                                                            REORGANIZATION PLANS
                                  12                      Defendants.
Northern District of California
 United States District Court




                                                                                            Re: Dkt. Nos. 88, 165
                                  13

                                  14

                                  15          On May 9, 2025, the Court ordered defendants to disclose their Agency RIF1 and

                                  16   Reorganization Plans (ARRPs). Dkt. No. 85 at 40. Defendants moved for a protective order or for

                                  17   reconsideration. Dkt. No. 88.         The Court partly granted defendants’ motion by staying the

                                  18   production deadline pending further briefing. Dkt. No. 92. For the reasons explained below, the
                                  19   Court now GRANTS in part and DENIES in part defendants’ motion.

                                  20

                                  21                                              BACKGROUND

                                  22          Pursuant to the President’s Executive Order 14210 and a February 26, 2025 joint

                                  23   memorandum, the Office of Management and Budget (OMB) and the Office of Personnel

                                  24   Management (OPM) required the heads of federal departments and agencies to submit “Phase 1”

                                  25   and “Phase 2” ARRPs for review and approval by March 13 and April 14. Dkt. No. 37-1, Exs. A,

                                  26   B. On May 1, 2025, plaintiffs in this action moved for a temporary restraining order and requested,
                                  27

                                  28          1
                                                  A “RIF” is a reduction in force.
                                        Case 3:25-cv-03698-SI         Document 214        Filed 07/18/25      Page 2 of 11




                                   1   among other relief, “that the Court order that OMB and OPM immediately provide to the Court and

                                   2   to Plaintiffs the Federal Defendant Agency ARRPs, which Defendants have to date kept secret.”

                                   3   Dkt. No. 37 at 50. In its May 9, 2025 order granting a temporary restraining order, the Court ordered

                                   4   defendants to provide to the Court and to plaintiffs the following categories of documents: “(1) the

                                   5   versions of all defendant agency ARRPs submitted to OMB and OPM, (2) the versions of all

                                   6   defendant agency ARRPs approved by OMB and OPM, (3) any agency applications for waivers of

                                   7   statutorily-mandated RIF notice periods, and (4) any responses by OMB or OPM to such waiver

                                   8   requests[.]” Dkt. No. 85 at 40. The Court ordered the production by May 13, 2025. Id.

                                   9          On May 11, 2025, defendants moved for a protective order or in the alternative for

                                  10   reconsideration and requested an immediate stay of the Court’s discovery order. Dkt. No. 88. The

                                  11   May 11 motion for reconsideration was the first time defendants expressly invoked the deliberative

                                  12   process privilege. The Court set a briefing schedule and stayed the May 13 production deadline
Northern District of California
 United States District Court




                                  13   pending resolution of defendants’ motion. Dkt. No. 92. Plaintiffs submitted an opposition, Dkt.

                                  14   No. 96, and defendants replied, Dkt. No. 103. “To assess whether the deliberative process privilege

                                  15   applies to the ARRPs of the federal agency defendants in this case,” the Court ordered defendants

                                  16   to produce ARRPs from a sampling of four agency defendants to the Court for in camera review

                                  17   and to plaintiffs’ counsel for counsel’s eyes only. Dkt. No. 109 at 4-5. Defendants timely provided

                                  18   the documents for review along with a declaration from Stephen Billy, a Senior Advisor at OMB.

                                  19   Dkt. No. 88-1. Upon a finding that the Billy declaration was insufficient to support the deliberative

                                  20   process privilege, the Court further ordered defendants to provide more detailed declarations from

                                  21   agency decisionmakers supporting application of the privilege. Dkt. No. 139. Defendants produced

                                  22   those declarations under seal.2 Dkt. No. 165. At this point, therefore, the Court has reviewed in

                                  23   camera the ARRPs of four of the federal agency defendants as well as the declarations submitted to

                                  24   support the privilege assertion.

                                  25          On May 22, 2025, the Court issued a preliminary injunction but did not rule on the question

                                  26   of whether the ARRPs should be disclosed. See Dkt. No. 124. After the Supreme Court stayed this

                                  27

                                  28
                                              2
                                                The Court GRANTS defendants’ administrative motion to file these declarations under
                                       seal. See Dkt. No. 165.
                                                                                 2
                                        Case 3:25-cv-03698-SI         Document 214           Filed 07/18/25    Page 3 of 11




                                   1   Court’s preliminary injunction, Trump v. Am. Fed. of Gov’t Emps., No. 24A1174, 2025 WL

                                   2   1873449, 606 U.S. ____ (July 8, 2025), plaintiffs filed an “urgent request” for a final ruling on

                                   3   defendants’ motion to reconsider the Court’s May 9 order. Dkt. No. 176. The Court ordered

                                   4   defendants to submit a response by July 14. Dkt. No. 177. Defendants responded, Dkt. No. 208,

                                   5   and plaintiffs replied, Dkt. No. 213. The matter is now ripe for review.

                                   6

                                   7                                          LEGAL STANDARD

                                   8   I.     Discovery

                                   9          “‘[A] district court has wide discretion in controlling discovery.’” Jeff D. v. Otter, 643 F.3d

                                  10   278, 289 (9th Cir. 2011) (quoting Little v. City of Seattle, 863 F.2d 681, 685 (9th Cir. 1988)).

                                  11

                                  12   II.    Deliberative Process Privilege
Northern District of California
 United States District Court




                                  13          Defendants invoke the deliberative process privilege to argue that they should not be

                                  14   compelled to produce the ARRPs. As the Ninth Circuit has explained,

                                  15                  This privilege permits the government to withhold documents that
                                                      reflect advisory opinions, recommendations and deliberations
                                  16                  comprising part of a process by which government decisions and
                                                      policies are formulated. NLRB v. Sears, Roebuck & Co., 421 U.S. 132,
                                  17                  150, 95 S.Ct. 1504, 1516, 44 L.Ed.2d 29 (1975). It was developed to
                                                      promote frank and independent discussion among those responsible
                                  18                  for making governmental decisions, Environmental Protection
                                                      Agency v. Mink, 410 U.S. 73, 87, 93 S.Ct. 827, 836, 35 L.Ed.2d 119
                                  19                  (1973), and also to protect against premature disclosure of proposed
                                                      agency policies or decisions. Coastal States Gas Corp. v. Department
                                  20                  of Energy, 617 F.2d 854, 866 (D.C. Cir. 1980). The ultimate purpose
                                                      of the privilege is to protect the quality of agency decisions. Sears,
                                  21                  421 U.S. at 151, 95 S.Ct. at 1517.
                                       F.T.C. v. Warner Commc’ns Inc., 742 F.2d 1156, 1161 (9th Cir. 1984). Factual material is not
                                  22
                                       protected unless it cannot be severed from deliberative material. Id.
                                  23
                                              The deliberative process privilege is qualified, not absolute. Id. “A litigant may obtain
                                  24
                                       deliberative materials if his or her need for the materials and the need for accurate fact-finding
                                  25
                                       override the government’s interest in non-disclosure.” Id. (citations omitted).
                                  26
                                  27

                                  28
                                                                                         3
                                        Case 3:25-cv-03698-SI         Document 214          Filed 07/18/25    Page 4 of 11




                                   1                                             DISCUSSION

                                   2   I.     Deliberative Process Privilege

                                   3          To resolve whether the government may assert the deliberative process privilege to avoid

                                   4   production of submitted ARRPs and approved ARRPs involves asking several questions. First, are

                                   5   the documents relevant to the litigation? If so, are the documents of the nature to be covered by the

                                   6   privilege—that is, are they pre-decisional and deliberative? Even if so, should the privilege be

                                   7   qualified and overridden by other considerations? Finally, if the documents are ordered produced,

                                   8   should their disclosure be limited by a protective order?

                                   9

                                  10          A.      Relevance

                                  11          Defendants’ recent filing argues repeatedly that the Supreme Court’s order staying the

                                  12   preliminary injunction “effectively ends this case[.]” See Dkt. No. 208 at 1. This Court disagrees
Northern District of California
 United States District Court




                                  13   with defendants’ reading. In granting the preliminary injunction, this Court did not reach several of

                                  14   the claims in the amended complaint. The Supreme Court’s stay of the injunction therefore did not

                                  15   have any bearing on those claims.

                                  16          Moreover, the high Court’s terse order to stay an injunction—and its statement that “the

                                  17   Government is likely to succeed on its argument that the Executive Order and Memorandum are

                                  18   lawful”—are inherently preliminary.3 See Trump, 2025 WL 1873449, at *1. The Court of Appeals

                                  19   still must determine whether the preliminary injunction is appropriate, a question defendants raised

                                  20   to that court and a question that may ultimately return to the Supreme Court. Meanwhile, here

                                  21   below, these preliminary decisions do not foreclose claims or otherwise halt proceedings on the

                                  22   merits on any claim in this case.

                                  23          Further, in granting the stay, the Supreme Court stated,

                                  24                  We express no view on the legality of any Agency RIF and
                                                      Reorganization Plan produced or approved pursuant to the Executive
                                  25                  Order and Memorandum. The District Court enjoined further
                                  26
                                              3
                                  27            Since the Supreme Court included no explanation of its conclusion, this Court cannot say
                                       whether the Supreme Court determined the claims underlying the preliminary injunction fail as a
                                  28   matter of law or if the evidentiary record has not yet sufficiently developed to support the claims.

                                                                                        4
                                        Case 3:25-cv-03698-SI          Document 214           Filed 07/18/25    Page 5 of 11



                                                      implementation or approval of the plans based on its view about the
                                   1                  illegality of the Executive Order and Memorandum, not on any
                                                      assessment of the plans themselves. Those plans are not before this
                                   2                  Court.
                                   3   Id. In a concurrence, Justice Sotomayor noted that the Supreme Court’s decision allows the district

                                   4   court to consider the legality of the ARRPs “in the first instance.” Id. (Sotomayor, J., conc.). As

                                   5   this Court has since observed, the content of the ARRPs thus remains squarely at issue in this case.

                                   6   See Dkt. No. 177 at 2.

                                   7          Litigants in a civil case “may obtain discovery regarding any nonprivileged matter that is

                                   8   relevant to any party’s claim or defense and proportional to the needs of the case . . . .” Fed. R. Civ.

                                   9   P. 26(b)(1). “Information within this scope of discovery need not be admissible in evidence to be

                                  10   discoverable.” Id. “Relevant information for purposes of discovery is information reasonably

                                  11   calculated to lead to the discovery of admissible evidence. . . . District courts have broad discretion

                                  12   in determining relevancy for discovery purposes.” Surfvivor Media, Inc. v. Survivor Prods., 406
Northern District of California
 United States District Court




                                  13   F.3d 625, 635 (9th Cir. 2005) (internal quotation marks and citations omitted).

                                  14          Here, the ARRPs are relevant to the claims in the amended complaint. To argue otherwise

                                  15   is to ignore the allegations of the operative complaint. The Court will take just one clear-cut

                                  16   example: Claim VII, the Administrative Procedure Act (APA) claim alleging arbitrary and

                                  17   capricious action by the federal agency defendants, remains at issue. The Court reserved ruling on

                                  18   this claim (along with two other APA claims) at the preliminary injunction stage, explaining that “a

                                  19   full review of the ARRPs will significantly aid the Court’s review of the merits of these APA

                                  20   claims.” Dkt. No. 124 at 44. Count VII alleges, among other things, that the “implementation of

                                  21   ARRPs by RIFing federal employees, closing offices, functions, and programs, and otherwise

                                  22   reorganizing agency functions are all final agency action under the APA” and that the “actions of

                                  23   the Federal Agency Defendants . . . violate the APA because they are arbitrary and capricious” for

                                  24   numerous alleged reasons, including that the agencies “conduct the process for the creation and

                                  25   approval of plans to radically transform the entire federal government in secret.” Dkt. No. 100

                                  26   ¶¶ 429, 431. To prove this claim, plaintiffs will need to show that an agency has failed to consider

                                  27   an important aspect of a problem, that the agency offers an explanation for a decision that is contrary

                                  28   to the evidence, that the agency’s decision is so implausible that it could not be ascribed to a
                                                                                          5
                                        Case 3:25-cv-03698-SI            Document 214        Filed 07/18/25      Page 6 of 11




                                   1   difference in view or be the product of agency expertise, or that the agency’s decision is contrary to

                                   2   governing law. Lands Council v. Powell, 395 F.3d 1019, 1026 (9th Cir. 2005) (citations omitted).

                                   3   In the context of this case, the ARRPs are the documents in which OMB and OPM directed the

                                   4   federal agency defendants to outline their initial agency cuts and reductions and the agencies’

                                   5   “positive vision for more productive, efficient agency operations going forward.” Dkt. No. 37-1,

                                   6   Ex. B at 3-4. These plans are highly relevant to plaintiffs’ Claim VII.

                                   7          Confusingly, defendants state in their brief that “Plaintiffs do not challenge any ARRP as

                                   8   unlawful by arguing that an ARRP’s plan is arbitrary and capricious . . . .” Dkt. No. 208 at 6.

                                   9   Perhaps by this statement defendants intend to say that plaintiffs cannot challenge the plans because

                                  10   those plans have not been made public. Numerous times, defendants argue essentially that plaintiffs

                                  11   cannot prove their case because plaintiffs do not have the ARRPs because the ARRPs have not been

                                  12   made public. See id. at 1, 6. By this logic, any defendant could withhold relevant discovery on the
Northern District of California
 United States District Court




                                  13   grounds that the plaintiff had not yet proven his or her case. The Court will not countenance such

                                  14   reasoning.

                                  15          Additionally, the Court rejects defendants’ argument that the ARRPs could not be disclosed

                                  16   pursuant to an APA claim because, in their view, “APA claims, even if cognizable in district court

                                  17   at all, must be adjudicated based on the administrative record” and the ARRPs would not be part of

                                  18   the administrative record. Dkt. No. 208 at 1-2. The Ninth Circuit has recognized “narrow

                                  19   exceptions” to the general rule that courts reviewing an agency decision are limited to the

                                  20   administrative record. Lands Council, 395 F.3d at 1030. The district court may admit extra-record

                                  21   evidence, for instance, in limited circumstances “if admission is necessary to determine whether the

                                  22   agency has considered all relevant factors and has explained its decision” or “when plaintiffs make

                                  23   a showing of agency bad faith.” Id. (internal quotation marks and citation omitted). It is premature

                                  24   for the government to assert that such exceptions would never apply here.

                                  25          To summarize, the ARRPs are plainly relevant. The Court therefore turns to defendants’

                                  26   argument that the ARRPs should nevertheless be protected from disclosure because of the

                                  27   deliberative process privilege.

                                  28
                                                                                         6
                                        Case 3:25-cv-03698-SI          Document 214           Filed 07/18/25    Page 7 of 11




                                   1          B.      Pre-decisional and Deliberative

                                   2          “To fall within the deliberative process privilege, a document must be both ‘predecisional’

                                   3   and ‘deliberative.’” Carter v. U.S. Dep’t of Com., 307 F.3d 1084, 1089 (9th Cir. 2002) (citation

                                   4   omitted). Predecisional documents are “prepared in order to assist an agency decisionmaker in

                                   5   arriving at his decision.” Id. (internal quotation marks and citation omitted). “A predecisional

                                   6   document is a part of the deliberative process, if the disclosure of the materials would expose an

                                   7   agency’s decisionmaking process in such a way as to discourage candid discussion within the

                                   8   agency and thereby undermine the agency’s ability to perform its functions.” Id. (internal quotation

                                   9   marks, brackets, and citation omitted).

                                  10          The Court has now reviewed in camera four agencies’ ARRPs, the contents of which vary

                                  11   widely. The Court has also reviewed declarations from officials in those four agencies asserting the

                                  12   privilege. The Court questions whether ARRPs that have been approved by OMB and OPM in any
Northern District of California
 United States District Court




                                  13   fashion remain “predecisional,” though defendants assert that “[a]n ARRP is never final and may

                                  14   change drastically as the agency’s priorities and thinking changes.”          See Dkt. No. 88 at 4.

                                  15   Nonetheless, at this stage, the Court assumes without deciding that at least some ARRPs may include

                                  16   pre-decisional and deliberative materials.

                                  17

                                  18          C.      Qualified Privilege

                                  19          The Court therefore proceeds to the next inquiry—whether a party’s “need for the materials

                                  20   and the need for accurate fact-finding override the government’s interest in non-disclosure.”

                                  21   Warner, 742 F.2d at 1161. Courts consider the following factors when evaluating this question: “1)

                                  22   the relevance of the evidence; 2) the availability of other evidence; 3) the government’s role in the

                                  23   litigation; and 4) the extent to which disclosure would hinder frank and independent discussion

                                  24   regarding contemplated policies and decisions.” Id. Considering these factors, the Court holds that

                                  25   the need for accurate fact-finding in this litigation overrides any interest in non-disclosure.

                                  26          First, the relevance of the evidence has already been discussed above. In short, the ARRPs

                                  27   remain relevant to the current proceedings.

                                  28          Second, plaintiffs cannot seek the relevant information in the ARRPs elsewhere. U.S.
                                                                                          7
                                        Case 3:25-cv-03698-SI         Document 214          Filed 07/18/25   Page 8 of 11




                                   1   Senators have requested much of the same information from OMB and OPM, but at this Court’s

                                   2   hearing on May 9, 2025, counsel for the government could not say whether the information had

                                   3   been provided. Dkt. No. 85 at 41 n.22. Nor have Freedom of Information Act requests resulted in

                                   4   release of the plans. See Democracy Forward Found. v. Off. of Mgmt. & Budget, No. CV 25-858

                                   5   (SLS), 2025 WL 1078778, at *3 (D.D.C. Apr. 9, 2025). The government has developed and begun

                                   6   to implement elements of ARRPs without transparency to the general public or the affected federal

                                   7   employees. Defendants may not attack plaintiffs’ case for failing to “challenge the content of

                                   8   particular ARRPs” while simultaneously withholding those same ARRPs. See Dkt. No. 208 at 1.

                                   9          The third factor also favors plaintiffs, as “the government—the Executive—is a party to and

                                  10   the focus of the litigation.” See Karnoski v. Trump, 926 F.3d 1180, 1206 (9th Cir. 2019).

                                  11          Finally, considering the limited information it has access to, the Court does not find that a

                                  12   protected disclosure of the ARRPs as outlined below would chill future frank and independent
Northern District of California
 United States District Court




                                  13   discussions within agencies. As plaintiffs persuasively argue, defendants’ contention that release

                                  14   of the ARRPs could hurt employee recruitment and retention or harm agencies’ positions at the

                                  15   bargaining table are specious when defendants are attempting to make large-scale reductions in force

                                  16   and, separately, to eliminate collective bargaining rights of federal employees. See Dkt. No. 96 at

                                  17   13-14. The damage to the federal government’s employee recruitment, retention, and labor relations

                                  18   has already been done, and the wounds are self-inflicted. Revealing these plans to the Court and to

                                  19   plaintiffs’ counsel only under the terms of the protective order discussed below would not chill

                                  20   future lawful deliberations by defendants.

                                  21          As plaintiffs have noted, defendants are moving forward with RIFs in the wake of the

                                  22   Supreme Court’s ruling. Dkt. No. 213 at 2 n.1. The issues in this case remain of significant public

                                  23   importance. The Court concludes that, even assuming at least some material within ARRPs may be

                                  24   predecisional and deliberative, the need for accurate fact-finding overrides the government’s

                                  25   interests in non-disclosure.

                                  26
                                  27          D.      Protective Order

                                  28          At this stage, however, the Court will grant defendants’ request for a protective order.
                                                                                        8
                                        Case 3:25-cv-03698-SI         Document 214           Filed 07/18/25    Page 9 of 11




                                   1   Defendants request that, if the Court ultimately orders disclosure of ARRPs, that the documents be

                                   2   filed under seal and plaintiffs’ counsel prohibited from disclosing their contents to anybody else,

                                   3   including their clients. Dkt. No. 88 at 10. Rule 26 of the Federal Rules of Civil Procedure allows a

                                   4   court to impose a protective order on discovery material for “good cause.” Fed. R. Civ. P. 26(c)(1).

                                   5          “The presumption of access is based on the need for federal courts, although independent—

                                   6   indeed, particularly because they are independent—to have a measure of accountability and for the

                                   7   public to have confidence in the administration of justice.” Ctr. for Auto Safety v. Chrysler Grp.,

                                   8   LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (internal quotation marks and citation omitted). When

                                   9   matters involve government actors and issues of public concern, a higher showing of harm is

                                  10   necessary to avoid disclosure. In re Roman Cath. Archbishop of Portland in Oregon, 661 F.3d 417,

                                  11   424 n.5 (9th Cir. 2011) (citing Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995)

                                  12   (citing Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787-91 (3d Cir. 1994))).
Northern District of California
 United States District Court




                                  13          Notwithstanding the Court’s finding that the information at issue is of grave public concern,

                                  14   at this still-early stage of the case, the Court will grant defendants’ request for a protective order

                                  15   that limits distribution of the ARRPs to plaintiffs’ counsel and the Court only. See Dkt. No. 88 at

                                  16   10. All federal agency defendants’ ARRPs must be produced.

                                  17          For the versions provided to plaintiffs’ counsel, the Court will also allow defendants to redact

                                  18   any material addressing union negotiating strategy. The versions provided to the Court must

                                  19   highlight any redacted material. This Court has afforded defendants several opportunities to propose

                                  20   redactions to the ARRPs, Dkt. Nos. 139 at 3, 177 at 2, but defendants have come back only with

                                  21   near-total redactions. The Court cautions defendants not to abuse this allowance by redacting

                                  22   material unrelated to union negotiation strategies.

                                  23

                                  24   II.    The “40 RIFs in 17 Agencies”

                                  25          In defendants’ application for a stay to the Supreme Court, the U.S. Solicitor General

                                  26   represented that “about 40 RIFs in 17 agencies were in progress and are currently enjoined.”

                                  27   Application for Stay at 32-33, Trump v. Am. Fed. of Gov’t Emps., AFL-CIO, No. 24A1174 (U.S.

                                  28   June 2, 2025). Defendants made this assertion to the Supreme Court to highlight the urgency of
                                                                                         9
                                       Case 3:25-cv-03698-SI         Document 214         Filed 07/18/25      Page 10 of 11




                                   1   their stay request and the extent of irreparable injury facing the government. Yet defendants now

                                   2   back-track, telling this Court that, actually, “those RIFs have not been finalized, many were in an

                                   3   early stage, and some are not now going forward.” Dkt. No. 208 at 12. Defendants have submitted

                                   4   a declaration from Noah Peters, a senior advisor in OPM, stating that the numbers given to the

                                   5   Supreme Court “reflect[] results from an early, initial step in RIF planning” and “did not derive from

                                   6   how many RIFs were mentioned in any Agency RIF and Reorganization Plans (ARRPs).” Dkt. No.

                                   7   208-1 ¶¶ 11-12. But if RIFs do not flow from ARRPs, Executive Order 14210, or the OMB/OPM

                                   8   Memo at issue in this case, they would not have been enjoined by the Court’s preliminary injunction.

                                   9   The government’s shifting positions degrade the Executive’s credibility and further underscore the

                                  10   need for an examination of the documents themselves. The Court repeats a query that it previously

                                  11   posed: if the ARRPs are non-final planning documents that do not commit an agency to take any

                                  12   specific action, pursuant to what, then, are the agencies implementing their large-scale
Northern District of California
 United States District Court




                                  13   reorganizations and RIFs?

                                  14          Further, in its order on July 9, 2025, the Court directed defendants to “provide a list of the

                                  15   ‘about 40 RIFs in 17 agencies’ that defendants referenced in their Supreme Court stay application.”

                                  16   Dkt. No. 177 at 2. Defendants provided a list of agencies, not a list of the RIFs. See Dkt. No. 208-

                                  17   1 ¶ 14. Defendants must file with the Court, not under seal, a list of the RIFs referenced in the

                                  18   Supreme Court stay application. Defendants may note which RIFs, if any, agencies have decided

                                  19   not to move forward, or provide any other details they wish.

                                  20

                                  21                                             CONCLUSION

                                  22          Defendants’ motion for a protective order or reconsideration is GRANTED in part and

                                  23   DENIED in part, as described above. By Wednesday, July 23, 2025 at 12:00 p.m. (PDT), defendants

                                  24   shall submit to the Court for in camera review paper copies of the following documents for the

                                  25   federal agency defendants in this case: (1) the versions of ARRPs submitted to OMB and OPM and

                                  26   (2) the versions of ARRPs approved by OMB and/or OPM. The federal agency defendants in this

                                  27   case consist of the departments of Agriculture, Commerce, Defense, Energy, Health and Human

                                  28   Services, Homeland Security, Housing and Urban Development, Justice, Interior, Labor, State,
                                                                                        10
                                       Case 3:25-cv-03698-SI          Document 214        Filed 07/18/25      Page 11 of 11




                                   1   Treasury, Transportation, and Veterans Affairs; AmeriCorps; the Peace Corps; the General Services

                                   2   Administration; the National Labor Relations Board; the National Science Foundation; the Small

                                   3   Business Administration; the Social Security Administration; and the Environmental Protection

                                   4   Agency. Documents for in camera review may be mailed or hand-delivered to the Clerk’s Office,

                                   5   clearly stamped “DO NOT FILE—IN CAMERA REVIEW.”

                                   6          By Wednesday, July 23, 2025 at 12:00 p.m. (PDT), defendants shall provide the same

                                   7   material to plaintiffs’ counsel, but plaintiffs’ counsel may not share the plans or their contents with

                                   8   their clients or any third parties unless or until the Court orders otherwise. The Court will not order

                                   9   broader disclosure without prior notice to defendants’ counsel.

                                  10          By Wednesday, July 23, 2025 at 12:00 p.m. (PDT), defendants shall also publicly file a list

                                  11   of the RIFs referenced in its application for a stay before the Supreme Court, as explained above.

                                  12
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: July 18, 2025

                                  15                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  16                                                    United States District Judge
                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         11
